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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

 RICHARD RUDOLPH                             Civil Action No.: 3:18-cv-06071
             Plaintiff,                      Hon. Peter G. Sheridan

       v.


 ABBOTT LABORATORIES, INC.
             Defendant.

          [PROPOSED] ORDER GRANTING SUMMARY JUDGMENT
       This matter having been brought before the Court by Seyfarth Shaw LLP,

 attorneys for Defendant Abbott Laboratories, Inc. (“Defendant”), for an order

 granting its motion for summary judgment pursuant to Local Civ. Rule 56.1 and Fed.

 R. Civ. P. 56 and dismissing Plaintiff Richard Rudolph’s Complaint in its entirety;

 and the Court having reviewed the motion papers submitted; and for good cause

 shown:
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       IT IS on this ___ day of __________, 2020,

       ORDERED that Defendants’ Fed. R. Civ. P. 56 motion for summary

 judgment is granted and Plaintiff’s Complaint is dismissed in its entirety with

 prejudice.



                                     ____________________________________
                                     Hon. Peter G. Sheridan, U.S.D.J.




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